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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     KATHERINE TANAKA
 3   Assistant Federal Public Defender
     Nevada State Bar No. 14655C
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 6   Katherine_Tanaka@fd.org

 7   Attorney for Ryan Patrick Noe

 8
                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:20-cr-00065-GMN-DJA

12                 Plaintiff,                                STIPULATION TO CONTINUE
                                                               REVOCATION HEARING
13          v.
                                                                   (Second Request)
14   RYAN PATRICK NOE,

15                 Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Nicholas Dickinson, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Katherine Tanaka, Assistant Federal Public Defender, counsel for Ryan Patrick Noe, that
21   the Revocation Hearing currently scheduled on January 6, 2021 at 9:00 a.m., be vacated and
22   continued to date and time convenient to this Court, but no sooner than one hundred and twenty
23   (120) days.
24          This Stipulation is entered into for the following reasons:
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        Case 2:20-cr-00065-GMN-DJA Document 20 Filed 12/30/20 Page 2 of 3




 1          1.      Counsel for the defendant needs additional time to prepare for Mr. Noe’s
 2   revocation hearing and sentencing. The additional time will also permit the parties to discuss
 3   resolution of the matter.
 4          2.      The defendant is not incarcerated and does not object to the continuance.
 5          3.      The parties agree to the continuance.
 6
 7          This is the second request for a continuance of the revocation hearing.
 8          DATED this 30th day of December 2020.
 9
10    RENE L. VALLADARES                             NICHOLAS A. TRUTANICH
      Federal Public Defender                        United States Attorney
11
12
      By /s/ Katherine Tanaka                        By /s/ Nicholas Dickinson
13    KATHERINE TANAKA                               NICHOLAS DICKINSON
      Assistant Federal Public Defender              Assistant United States Attorney
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        Case 2:20-cr-00065-GMN-DJA Document 20 Filed 12/30/20 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                         Case No. 2:20-cr-00065-GMN-DJA
 4                 Plaintiff,                          ORDER
 5          v.
 6   RYAN PATRICK NOE,
 7                 Defendant.
 8
 9
            IT IS THEREFORE ORDERED that the revocation hearing currently
10
     scheduled for January 6, 2021 at 9:00 a.m., be vacated and continued to May 12, 2021, at
11
     the hour of 1:00 p.m. in Courtroom 7D before Judge Gloria M. Navarro.
12
            DATED this ___
                       30 day of December 2020.
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15                                              UNITED STATES DISTRICT JUDGE
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